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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )         4:08CR3095-1
                                                )
                     Plaintiff,                 )
                                                )
       vs.                                      )         AMENDED
                                                )         ORDER
JESUS MENDIBIL,                                 )
                                                )
                     Defendant.                 )

       Based upon the prior representations of defense counsel,

       IT IS ORDERED that Defendant Mendibil’s case is removed from the undersigned’s
October 6, 2008 trial docket. Defense counsel shall contact Magistrate Judge Piester’s
chambers at his earliest convenience to schedule this case for a plea hearing. For this
defendant, the time between today’s date and the hearing on the anticipated plea of guilty is
excluded for purposes of computing the limits under the Speedy Trial Act. See 18 U.S.C.
sec. 3161(h)(1)(I)&(h)(8)(A)(B).

       October 3, 2008.                      BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
